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U.S. DISTRICT COURT |
NORTIIERN DISTRICT OF TEXAS
IN THE UNITED STATES DISTRICT COURT “ILED

 

 

 

 

 

 

 

FOR THE NORTHERN DISTRICT OF TEXA$ AUG 17 2021
AMARILLO DIVISION
CLERK, U.S. DISTRICT COURT

THE STATE OF TEXAS, et al., § BY A oa

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Plaintiffs, §
§

Vv. § 2:21-CV-067-Z

§
JOSEPH R. BIDEN, JR. et al., §
§
Defendants. §

ORDER
Defendants’ Emergency Motidn to Stay Court’s Order Pending Appeal (ECF No. 98) is

DENIED. See FED. R. App. P. 8(a)(1).

SO ORDERED.

August / 7, 2021.

 

MATAHEW J. KACSMARYK
UNJTED STATES DISTRICT JUDGE

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